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 2                                                                    J S -6
 3
 4                       UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
 5                            SOUTHERN DIVISION
 6
 7   DAWN DEANNA ERWIN,                       ) Case No.: 2:20-cv-05731-KES
                                              )
 8                Plaintiff,                  )
                                              ) JUDGMENT
 9         vs.                                )
                                              )
10   KILOLO KIJAKAZI,                         )
     Acting Commissioner of Social            )
11   Security,                                )
                                              )
12                Defendant.                  )
                                              )
13
14         The decision of the Commissioner of the Social Security is reversed and
15   remanded to the Commissioner for further administrative proceedings pursuant to
16   the terms in the parties’ joint motion for remand.
17         IT IS SO ADJUDGED AND DECREED.
18   DATE: November 19, 2021
19
20                                   _____________________________
21                                   THE HONORABLE KAREN E. SCOTT
                                     UNITED STATES MAGISTRATE JUDGE
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 1   Respectfully submitted,
     LAW OFFICES OF LAWRENCE D. ROHLFING
 2
 3   /s/ Brian C. Shapiro

 4   __________________
     Brian C. Shapiro
 5
     Attorney for plaintiff Dawn Deanna Erwin
 6
 7
 8   TRACY WILKISON
 9   Acting United States Attorney
     DAVID M. HARRIS
10   Assistant United States Attorney
     Chief, Civil Division
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     CEDINA M. KIM
12   Assistant United States Attorney
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14   /s/ Michael Marriot

15   ______________________
16   MICHAEL MARRIOT
     Special Assistant United States Attorney
17   Attorneys for Defendant KILOLO KIJAKAZI,
     Acting Commissioner of Social Security
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     (Per e-mail authorization)
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